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           Probable Cause – Graydon Young and Laura Steele
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                  Probable Cause – Graydon Young
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                   Probable Cause – Laura Steele
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                   Probable Cause – Kelly Meggs
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                  Probable Cause – Connie Meggs
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